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                       UNITED STATES OF DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

THOMAS W. NEW,                              )
                                            )
       Plaintiff,                           )
                                            )
vs                                          )      Case No. CIV-14-1132-SLP
                                            )
BLACKWELL WIND, LLC, a                      )      Judge Scott L. Palk
Delaware LLC, WIND ENERGY                   )
CONSTRUCTORS, INC., a California            )
Corporation, and MILCO                      )
CONSTRUCTORS, INC.,                         )
                                            )
                      Defendants.           )

                           PLAINTIFF’S PROPOSED VOIR DIRE

       Plaintiff respectfully requests that the prospective jurors be asked the following

questions to determine their bias to serve as jurors in this cause:

       1.     Do any of you know the parties in this case or the witnesses in this case?

(Go over witnesses set forth in PTO).

       2.     If yes, discuss relationship and if it will make it difficult to be fair and

unbiased to all parties.

       3.     Ask each juror this question: What is your screen saver on your phone?

       4.     Ask each juror this question: Whenever you watch cable news, do you

prefer Fox News, CNN, MSNBC, ABC, CBS or NBC?

       5.     Ask each juror this question: Some people believe that if a person was

injured because a business is negligent, the injured person should be compensated for (1)

his loss of income, (2) his medical bills, and (3) his physical pain, and his mental anguish.
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Others believe the injured person should be compensated for (1) his loss of income and

(2) his medical bills, but the injured person should get nothing for his physical pain and

his mental anguish. Which way do you lean?

       6.     If juror says leans toward giving nothing for pain and anguish, ask how

strongly juror feels on a scale of 1-10, with 10 being very strong.

       7.     Ask each juror this question: Some people believe that businesses that do

not keep their premises safe should be responsible for all damages that are caused. Others

believe life is not fair and that persons that get hurt at businesses, even if they are not

their own fault, deserve whatever fate has in store for them. Which way do you lean?

       8.     If juror says he leans toward people deserve whatever fate has in store for

them, ask how strongly juror feels on a scale of 1-10, with 10 being very strong.

       9.     Ask each juror this question: Some people feel rules protect society from

mayhem. Others feel the mayhem won’t likely be happening to them so it’s not so bad if

people don’t follow rules all the time. Which way do you lean?

       10.    Have you ever served on a jury before? Please describe experience.

       11.    Have you or has anyone in your immediate family ever sued or been sued in

a civil action other than for divorce? Please describe all litigation experience.

       12.    Have you or anyone close to you ever been employed in any capacity by any

insurance company? Please describe.




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       13.    Do any of you coach sports or are any of you in a leadership position with

any organization? Please describe.

       14.    Have you or has any close friend or relative had any legal training? If yes,

please explain.

       15.    Do you know any lawyers, judges or court personnel? If yes, list their

names and describe their relationship to you.

       16.    Is there any matter you would prefer to discuss privately with the judge?

       17.    Do you have any specific issue or medical condition that might interfere

with your ability to concentrate on the case during trial? If yes, please explain.

       Respectfully submitted,

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                                                  Attorneys for Plaintiff

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                                CERTIFICATE OF SERVICE

       I, DAVID BERNSTEIN, certify that on February 22, 2018, I electronically
transmitted this document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to ECF registrants, including Randall J. Wood,
rwood@piercecouch.com, Allison L. Haynes, ahaynes@piercecouch.com, J. Christopher
Davis, Cdavis@johnson-jones.com, Trevor Hughes, Thughes@johnson-jones.com,
Williams S. “Bill” Leach, bill.leach@mcafeetaft.com.

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